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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                      Case No. 8:23-cv-701-SDM-AAS

ASHLEY MOODY, on behalf of the
People of the State of Florida,

      Plaintiff,

      v.

CALEB HUNTER FREESTONE,
et al.,

      Defendants.
_________________________________

  UNOPPOSED MOTION FOR PERMANENT INJUNCTION, FINAL
   JUDGMENT IN PART, AND TO STAY PROCEEDINGS IN PART

      Plaintiff, Attorney General Ashley Moody, brought this civil action

against Defendants Caleb Freestone, Amber Marie Smith-Stewart, Annarella

Rivera, and Gabriella Victoria Oropesa, alleging violations of the Freedom of

Access to Clinic Entrances Act (the FACE Act), 18 U.S.C. § 248. See Doc. 9.

Plaintiff respectfully moves for the following relief, which effectuates the

settlement agreement entered into by all parties. A proposed order is attached.

Defendants do not oppose this motion or entry of the proposed order.

      The terms of settlement as to Defendants Freestone, Smith-Stewart, and

Rivera are materially similar and were contingent on those Defendants



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pleading guilty to a felony charge in the related criminal case (No. 8:23-cr-25-

VMC-AEP). They have now done so.

      The terms of settlement as to Defendant Oropesa are, except as to one

minor term discussed below, not tied to any outcome in her criminal case.

Unlike the other settlement, however, Defendant Oropesa has agreed to pay a

civil penalty of $10,000 and an additional $3,000.

      Defendants Freestone, Smith-Stewart, and Rivera have agreed

with Plaintiff to the following:

      1. The entry of a permanent injunction prohibiting Defendants

         Freestone, Smith-Stewart, and Rivera from getting within 100 feet of

         the facilities that Plaintiff alleges were victimized in this case: South

         Broward Pregnancy Help Center in Hollywood, Florida; the Life

         Choice Pregnancy Center in Winter Haven; and any of the five

         facilities owned by Heartbeat of Miami.

      2. The entry of judgment for the amount of restitution equal to the

         restitution amount ordered in the related criminal case (No. 8:23-cr-

         25-VMC-AEP), if any. If the Court in the related criminal case does

         not order restitution as to any of the three facilities identified in

         Moody v. Freestone, et al., Case No. 23-cv-701-SDM-AAS, then

         Defendants Freestone, Smith-Stewart, and Rivera agree to pay in this



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         case a restitution amount of $2,250 for each facility, for a total

         restitution payment cap of $6,750, jointly and severally.

      3. Defendants Freestone, Smith-Stewart, Rivera, and Plaintiff agree to

         mutual releases of any claims they may have against any opposing

         party arising from the same transaction or occurrence as the claims

         in the operative complaint, Doc. 9.

      4. Each party shall bear their respective fees and costs.

      5. Defendants Freestone, Smith-Stewart, and Rivera will each state an

         apology on the record during their respective sentencing hearings

         based upon the following as applicable to their individual

         circumstances:

            Two years ago, I was upset with the Supreme Court’s decision in
            Dobbs. I decided to express my frustration in the wrong way.

            On the night of July 3, 2022, I walked to the back of the Heartbeat
            of Miami center in Hialeah and spray-painted the wall with
            phrases attributed to “Jane’s Revenge.”

            Months later, on September 17, 2022, I went to the Heartbeat’s
            annual fundraising gala, and, in the middle of the program, I
            leafletted the crowd and supporters of Heartbeat of Miami.

            I also visited the South Broward Pregnancy Help Center in
            Hollywood, and the Life Choice Pregnancy Center in Winter Haven
            and spray painted those facilities with phrases attributed to
            “Jane’s Revenge.”

            I want to apologize to the Heartbeat of Miami, the South Broward
            Pregnancy Help Center, and the Life Choice Pregnancy Center,
            their leadership, their staff, and the patients they see every day.

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            I am sorry. Please accept my apology to you, your staff, and the
            people you serve.

      Defendant Oropesa has agreed with Plaintiff to the following:

      1. The entry of a permanent injunction prohibiting Defendant Oropesa

         from getting within 100 feet of the facilities that Plaintiff alleges were

         victimized in this case: South Broward Pregnancy Help Center in

         Hollywood, Florida; the Life Choice Pregnancy Center in Winter

         Haven; and any of the five facilities owned by Heartbeat of Miami.

      2. Judgment for $13,000. Defendant Oropesa will pay $1,000 to each of

         the three facilities for a total of $3,000. She will also pay the Plaintiff

         a $10,000 civil penalty.

      3. Defendant Oropesa and Plaintiff agree to the release of any claims

         they may have against each other arising from the same transaction

         or occurrence as the claims in the operative complaint, Doc. 9.

      4. Each party shall bear their respective fees and costs.

      5. If Defendant Oropesa is found guilty or enters a subsequent guilty

         plea in the related criminal case, Defendant Oropesa agrees to send a

         letter of apology to each facility similar to the apology the other three

         Defendants plan to make at their sentencing hearings.




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      Accordingly, Plaintiff respectfully requests that this Court enter the

accompanying proposed order, which will (1) enter an injunction against all

Defendants; (2) enter final judgment against Defendant Oropesa for $13,000;

and (3) enter an order staying the case as to Defendants Freestone, Smith-

Stewart, and Rivera until an amount of restitution has been determined in the

related criminal case.

                                   Respectfully submitted,

                                     ASHLEY MOODY
                                     ATTORNEY GENERAL

                                     John Guard (FBN 374600)
                                     CHIEF DEPUTY ATTORNEY GENERAL
                                     James H. Percival (FBN 1016188)
                                     CHIEF OF STAFF
                                     Henry Whitaker (FBN 1031175)
                                     SOLICITOR GENERAL
                                     Natalie Christmas (FBN 1019180)
                                     SENIOR COUNSELOR
                                     /s Christine Pratt
                                     Christine Pratt (FBN 100351)
                                     COUNSELOR
                                     Emily J. Witthoeft (FBN 1039542)
                                     ASSISTANT ATTORNEY GENERAL
                                     Office of the Attorney General
                                     The Capitol, Pl-01
                                     Tallahassee, Florida 32399-1050
                                     (850) 414-3300
                                     (850) 410-2672 (fax)
                                     Christine.Pratt@myfloridalegal.com




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                 LOCAL RULE 3.01(g) CERTIFICATION

I certify that I have conferred with opposing counsel regarding this motion
and no party objects to this motion.


                                      /s Christine Pratt
                                      Christine Pratt (FBN 100351)
                                      COUNSELOR
                                      Office of the Attorney General
                                      The Capitol, Pl-01
                                      Tallahassee, Florida 32399-1050
                                      (850) 414-3300
                                      (850) 410-2672 (fax)
                                      Christine.Pratt@myfloridalegal.com




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